
McKinney, J.,
delivered the opinion of the Court.
This is a writ of error, brought to reverse a decree in a divorce case, by which the marriage was dissolved, and the property of the wife, before the marriage, given back to her. The writ of error was prosecuted by the defendant, and a motion has been made to dismiss it. The motion must-be allowed.. It is positively declared, in sec. 8158 of the Code, that, “ in-divorce cases, an appeal shall be the only mode of revising-errors.”
This is a proper and necessary provision, intentionally adopted. Much mischief might be produced, if either party— in a case where the bond of matrimony had been dissolved— were permitted at any time within two years aft'”’ the divorce, *226to obtain a reversal of the decree, after a seeming acquiescence for a time, bj declining to appeal, and, possibly, after the other party had again married.
Motion to dismiss the writ allowed.
